Case 2:05-cr-20205-.]DB Document 8 Filed 06/07/05 Page 1 of 2 Page|D 17

FHEDEKMH%E;-_"“_DG

UNITED sTATEs DISTRICT coURT 05 JUN_y A_H 8,33

doesn E.II Ncm»

C '
Robert R. D:L Trolio Memph}.-§Hi<dch-§~§P f§ATBé?-§'_ZOO
Clerk of Court an 90l H§§- 550
Jackson 901-427-6586
an 901-427-9210
DATE: June 7, 2005

NOTICE TO ALL PARTIES

RE: CRIMINAL CASE NO. 2:05cr20205 Ml/A
UNITED STATES OF AMERICA vs. Charles Love

RULE 20 (Consent to Transfer of Case for Plea and
Sentence)

XX RULE 40 TRANSFER

Documents, Appearance bond; Order setting conditions of release; report of
proceedings before US Magistrate; Waiver of identity/removal hearing;
courtroom minutes held 5/27/05, as to the above-named defendant, have been
received from the United States District Court, Eastern District of
Tennessee. Please refer to document #7 in the case record.

Sincerely,

ROBERT R. Di TROLIO,
Clerk of Court

BY= f::),¢¢¢i/&LM¢¢/

§/De§hty Cferk

cc: Mag. S. Thomas Anderson
Casemanager

 

  
 

ENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20205 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Bryan H. Hoss

DAVIS & HOSS

508 East 5th St
Chattanooga, TN 37403

Honorable J on McCalla
US DISTRICT COURT

